                    SIXTH DISTRICT COURT OF APPEAL
                           STATE OF FLORIDA
                          _____________________________

                               Case No. 6D2024-0821
                       Lower Tribunal No. 2017-CF-010498-A-O
                         _____________________________

                               MARIA NAVARRO MARTIN,

                                       Appellee,
                                           v.

                                  STATE OF FLORIDA,

                                       Appellant.
                          _____________________________

Appeal pursuant to Fla. R. App. P. 9.141(b)(2) from the Circuit Court for Orange County.
                                Michael J. Snure, Judge.

                                    August 27, 2024

   PER CURIAM.

         AFFIRMED.

   TRAVER, C.J., and NARDELLA, J., and LAMBERT, B.D., Associate Judge,
   concur.


   Maria Navarro Martin, Ocala, pro se.

   No Appearance for Appellant.


     NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
              AND DISPOSITION THEREOF IF TIMELY FILED
